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UNITED STATES DISTR|CT COURT

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UN|TED STATES OF AMERICA
V CR|M|NAL COMPLA|NT

Ana Maria UGALDE Case Number: a \Bm\d zoqz

|, the undersigned complainant state that the following is true and correct to the best of my

 

knowledge and belief. On or about 8/7/2018 in Brooks County, in the
(Date)
Southem District of Texas defendant(s), Ana Marla UGALDE

did knowingly or in a reckless disregard of the fact that an alien had come to. entered, or remained in the United States in
violation of law, transport, or move or attempt to transport or move such alien within the United States by means of
transportation or otherwise, in furtherance of such violation of law

 

 

 

in violation of Tlt|e 8 United States Code. Section(s) 1324
l further state that l am a(n) Border patrol Agent and that this complaint is based on the
following facts: Omcial Title

See Attached Affidavit of U.S. Border Patrc| Agent Julio R. Zuniga
Continued on the attached sheet and made a part of this complaint [:I Yes I:I No

omplainant

Submitted by reliable electronic means, sworn to, signature Ju|io R. Zunija
attested telephoniczlly per Fed.R.Crim.P.4.1, and probable Pn'nted Name or complainant

cause found on the:

AMQ, 2018 }" 2041/n

Date

 

B. Janlce Ellington , U.S. Magistrate Judge
Name and Title of Judicie| Otficer

 

 

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AFFIDAVIT

The information contained in this report/affidavit is based upon my personal participation in the
investigation, which included, but is not limited to information relayed to me by other agents and
officers participating in the investigation

PROBABLE CAUSE / FACTS:

On August 7, 2018 Border Patrol Agent’s (BPA) Brady Pratt and Mark Triumph were working
roving patrol duties south of the U.S. Border Patrol Checkpoint on U.S. Highway 281 near
Falfurrias, Texas.

At approximately 10:50 p.m., BPA’s Pratt and Triumph were responding to a report of possible
inadmissible aliens south of the Falfum'as checkpoint on the west side of U.S. Highway 281. At
that time, agents observed a dark in color compact car parked on the northbound shoulder of
Highway 281 about a half mile south of the Falfurrias Checkpoint. Based on previous training
and experience working in the Falfurrias area of responsibility, this location in close proximity to
the Falfurrias checkpoint is commonly used as a point of reference to drop off illegal aliens.

F or safety precautions and in order to alert northbound vehicles traveling on Highway 281,
BPA’s Pratt and Triumph activated their emergency equipment lights to conduct a welfare check.
BPA Pratt pulled up to the passenger side of the vehicle and asked the driver, later identified as
Ana Maria UGALDE, if she was okay and UGALDE stated that she was safe but her vehicle's
front passenger side tire had blown out. BPA’s Pratt and Triumph then exited their marked
service vehicle to assist UGALDE.

For officer safety, BPA Pratt utilized his flashlight to look inside the vehicle and noticed one
visible occupant laying on the floor of the backseat underneath a large black duffle bag. BPA
Pratt asked UGALDE who else was in the vehicle and she responded that no one else was with
her. Due to the observation of someone covered in the backseat, BPA Pratt asked UGALDE a
second time if anyone was traveling with her and UGALDE then stated that she had picked up
the vehicle from a friend's house and was traveling by herself to San Marcos, Texas. '

UGALDE was then secured for officer safety purposes and BPA Pratt radioed to the Falfurrias
Checkpoint for backup. BPA Triumph asked UGALDE if she was a U. S. citizen and UGALDE
replied that she was. BPA Triumph then asked UGALDE if she had any items in her pockets at
which time she handed him her cellular phone. BPA Triumph then placed UGALDE in
handcuffs and approximately five minutes later additional agents arrived on scene.

At this time, agents began to search the vehicle and attempted to move the duffel bag to remove
the occupant located on the floor of the vehicle. Agents observed and felt the duffel bag begin to
move in an uncharacteristic way as if there was a person inside of it. Agents immediately
opened the duffel bag and found one male occupant inside who was later identified as K.M.M.C

 

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;: (2002). Both K.M.M.C. and the subject who was hiding on the floor, later identified as

" Francisco LOPEZ-Ramos, were extracted from the vehicle and determined to be citizens of
Guatemala illegally present in the United States. At that time, all subjects were placed under
arrest and taken into the checkpoint for further processing.

MIRANDA RIGHTS WARNING:

Ana Maria UGALDE was read her Miranda Rights as per service form I-214 in her preferred
language. UGALDE signed the Miranda Waming Rights form indicating she understood her
rights and was willing to make a statement and answer questions without a lawyer present.

PRINCIPAL STATEMENT (Ana Maria UGALDE):

 

UGALDE stated that she made arrangements to smuggle illegal aliens for $l ,200.00 (USD) per
person. UGALDE stated that her instructions were to drive to the first Stripes store once she was
passed the checkpoint and wait for further instructions

UGALDE stated she picked up the car and was supposed to smuggle the aliens the night before
but she was told not to due to some problems. UGALDE stated she asked a friend to get her a
hotel room and took the illegals with her. UGALDE stated they stayed with her for about a day
until she was told it was good to go. UGALDE stated she then drove north but had a blowout
then she was apprehended by Border Patrol.

UGALDE further stated that she estimated she had successfully smuggled illegal aliens through
either the Falfurrias or Sarita Border Patrol Checkpoints approximately twenty times. UGALDE
stated that on average she was paid $1,000.00 to $l,200.00 (USD) per illegal alien to smuggle
them north.

MIRANDA RIGHTS WARNING:

Francisco LOPEZ-Ramos and K.M.M.C. were read their Miranda Rights as per service form I-
214 in their preferred language Both subjects signed the Miranda Waming Rights form
indicating they understood their rights and were willing to answer questions without a lawyer
present

MATERIAL WITNESS STATEMENT (Francisco LOPEZ-Ramos):

 

LOPEZ stated he illegally crossed the Rio Grande River into the United States on or about July
31, 2018 and was taken to a trailer house. LOPEZ stated that the juvenile male that he was
apprehended with (K.M.M.C.) showed up shortly after. LOPEZ stated he was there for
approximately seven days and that the driver of the vehicle he was arrested in was the caretaker
while he was in the trailer.

LOPEZ stated on the day of his arrest that he was hidden in the backseat with the juvenile on top
of him. LOPEZ stated that once in the vehicle they left and he heard something wrong with the

 

 

  

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vehicle. LOPEZ stated that from the time they left to when they pulled over on the side of the
road was approximately an hour.

LOPEZ was shown a photo lineup and positively identified Ana Marie UGALDE as the
caretaker and driver of the vehicle he was arrested in.

MATERIAL WITNESS STATEMENT (K.M.M.C.):

K.M.M.C. stated that he could not really remember how many days ago he illegally crossed the
Rio Grande River into the United States. K.M.M.C. stated he was eventually picked up and taken
to an unknown house. K.M.M.C. stated he was there for approximately 8-10 days. K.M.M.C.
stated that he received a call to go outside and to look for a black car. K.M.M.C. stated he was
instructed to get into the vehicle and to hide inside the suitcase that was in there. K.M.M.C.
stated that approximately 10 minutes later, he felt the vehicle move. K.M.M.C. stated he felt it
travel for approximately 3-4 hours until hearing the tire blow out. K.M.M.C. stated that 5-6
minutes later, the immigrations agents arrived. K.M.M.C. stated that before he was taken out of
the suitcase, he felt really bad like he was going to die and felt like his body was weakening.
K.M.M.C. stated he was removed from the vehicle and placed under arrest and that is when he
saw the "muchacha", (UGALDE).

DISPOSITION:

The facts of this case were presented to Assistant United States Attorney Julie Hampton who
accepted Ana Maria UGALDE for prosecution of 8 USC 1324, Alien Smuggling. Francisco
LOPEZ-Ramos and K.M.M.C. will be held as material witnesses in this case.

/ io R. Zuniga
Border Patrol Agent
Submitted by reliable electronic means,

sworn to, signature attested telephonically
per Fed.R.Crim.P.4.l, and probable cause found:

/ ,¢4/ %{//
». J ice llington v
U te tates Magistrate Judge

  

 

